Case 2:21-cv-01201-JDC-KK Document 1-2 Filed 05/05/21 Page 1 of 7 PageID #: 9



   @-    ct     Corporation                                                                                  Service of Process
                                                                                                             Transmittal
                                                                                                             04/09/2071
                                                                                                             CT Log Number 519354493
         TO:         Karin K Ashford
                     Penn National Gamlns. lnc.
                     82s BERKSHIRE eLvo Str zoo
                     wYoMlsSlNG, PA 19610-1247

         REr         Process Served ln Loulslana
         FOR:        Penn National Gaming,            lnc.    (Domestic State: pA)




        ENCLOTEO ARE COPIES OF IEGAL FROCESS REGEIVED EY TIIE ATATUTORY AGENT OF THE AEOVE
                                                                                           COMPANY A6 FOLLOWS;

        TlrLE oF    ACrtoxr                               GARY DURBON, pLTF.           vs.   PENN NATIONAL GAMING lNC., ETC., ET                 AL.,   DFTS.
        DoCUilIENT{SI SERVEDT

        COURT'AGENCY:                                     None Specified
                                                          Case # 2021000868
        I{ATURE OF ACTION:                                Personal lnjury " Failure to Maintain Premises in a Safe Condition
        ON WHOM FROCESS WAS SCRVGD;                       C   T Corporation System, Baton Rouge, LA
        DATE ANO HOUR OF SERVICET                         8y Process Server on 04109/7021 at 08t41
        JUiISDICTION SERVED:                              Louisiana
        AFPETARANGE      OR ANSYI'ER DUC;                 None 5pecified
        ATTORNEY(E) / 6ENDER{S}B                          None Spectfled
        ACTION ITEIII3;                                   CT has retained the current tog, Retain Date:                04/09/Z0Zl, Expected purge Date:
                                                          04t14/2A21
                                                          lmage    SOP

                                                          Emait   Notification, Karin K Ashford karin.ashford@pngaming.com
                                                         Email Notjfication, Amanda Garber Amanda.Garber@pngaming.com

                                                         Emait    Notification, Caitlin Scargte caitt,in.scargte@pngaming.com
                                                         Emait    Notification, Richard Pcihoda richard.pcihoda@pngaming.com

      REOISTERED       AGENTADDRESS:                     CT    Corporation System
                                                         3867 Plaza Towei Dr.
                                                         Baton Rouge, LA70816
                                                         866-401-8252
                                                         EastTeam2@woltersktuwer. com
      The lnfomatlon conialncd ln thls Tran*nlttat     15 provlded by cT for qulck reference onty. lt does rot constitute a legal opinion, and
                                                                                                                                                sho!{d not otherv/ise be
      relied on, as to the nature o{ actlor, the amount of damag6, the answer date, or any ol.her lnfomailon rontalned in
                                                                                                                                  the lncludcd documents, The rec,pfent{s}
      of this form iJ respohJlble for revlewihg ahd tnterpretlng the inctuded documm$ and taking approprlate acud, includhg
                                                                                                                                       consulthg with its legal and other
      advisors as necessary cT disctaim3 att liabiltty tor the lnfomatlon contalned ln this tom, including lor any omirltons
                                                                                                                                 or lnaccordctes that may be contained
      therein,




                                                                                                           Pagelofl/RP




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                                                                                                                                                                             exhibitsticker.com




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                                                                                   Citation
         GARYDURSON                                                                                                                                 14'hJudicid Disuict Cowt
         vs.         2021-000868                                                                                                                                State of l,ouisiana
         PENN NATIONNT GAMING INC                                                                                                                              Patish of Crlcasieu


         THE STATE OF LOUISIANA

         TO:        PENN NATIONAL GAMING INC                               D/BiA I,'AUBNRGE CASINO RESORT,
                                                                           LAKE CFIARLES
                    THROUGH              CT   CORPORATION
                    SYSTEM
                    38670LAZA TOWER DRI\rE
                    Baton Rouge,   LA     70816

        Irrish of East Baton      Rougc, lauisiana, Dcfendant in said suit:

         YOU ARE HEREBY CITED TO APPEAR beforc said Court, lor said Parish, rnd to comply with the dcmand conraincd in
         the pcdtion of GARY DURBON, (PBTITION FOR. DAMAGES) ageinst you,'certified copy of which petition
         iccompanies this cimtion, or file yout eflswcrs thcrcto in wtiting in rhe officc of thc Clcrk of Cout! at the Courthouse, in the
         City ofhke Charles, in said Patish, within fiftcen (l 5) days rfter rhe service hercof, under pcnalty of default.

         witness the Honotable Judges of seid courr, at l,akc chnrtes, Louisienr, this 8th day of March 2021.

         Issued and dclivetcd April 6, 2021




                                                                                                            #r{-N*w
                                                                                                           Byton Wilkinson

                                                                                                           Deputy Clerk of Court
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Case 2:21-cv-01201-JDC-KK Document 1-2 Filed 05/05/21 Page 3 of 7 PageID #: 11



              FOI]RTEENTH JUDICIAL DISTRICT COURT FOR                           TTTE    PARISH OT' CA-LCASIEU

                                                   STATE OF LOUISIANA

            No.      8oil -Yrr(
                                                         GARY
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                                                                              Fro
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                                                                          flecd
             PENN NATIoNAL GAMING INC., D/B/A                      L'                                                LAKE
                   CHARLES, AND G,AMING AND

             F'1LED:         lr{AR0g      2021




                                                 PETI]fION X'OR DAMAGES


                     NOW INTO COIJRT, tkough undersigned counsel, comes Petitioner, GARY DURBON,

            who respectfirlly represents the following:

                                                            PARTIE_15

            l.   Pedtioner GARY DIJRBON,          ("k.   Durbon") is an individual residing in Bexar County, Texas

                 at I1911 Devin Chase, SanAntonio, Texas 78253.

            2.   Defendant   GAMING AND LDISURE PROPERTIES,INC. f'CAMINO PROPERTIES')

                 is a   Pennsylvania corporation and real estate inveshnent trust (REIT). GAMING

                 PROPERTIES is not registered to do business in Louisiana, but it is amenable to suit here, and

                 may be servcd via the Louisiana Long Arm Statute.

            3.   Defendani PE|{N   NATIONAL GAMING INC., d/b/r L'AUBERGE CASINO RESORT,

                 LAKE CHARLES (?ENN") is a Pennsyivaoia corporation                        authorized      to do ard doing

                 business in Louisiana   with its principal business office in Wyomissing, Pcnnsylvania. PENN

                 may be served througb its registered agent CT Corporation System at 3867 ?laza Tower Dr.,

                                                                                                       ,ffi'#?ff,-,\F#;g" iJ
                                                 JIETSDTCTTON_d.ND YENUI

           4,    The amouut in contoversy is suffioient tojustiry tbejurisdiction ofthe l4m Judicial District

                 Court for Calcasieu Parish.

           5.    Venue is proper in Calcasieu Parish pursuant to Louisiana Code of Civil Procedure Article 74.


                 .                "IO$rr" sEyeRAL. AND IN SOLIpO LIABILITY
           6.    The above-named Defendsnts (collectively "Defendants') are liable             jointly, severally,       and   in

                 solido for all damages to be shown at the time 9f      xll   j4glugfue legaljnterest and-allcosts             of


                                                                                    $ ffiPr3eCot   5
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                      these proceedings   for the following acts ofnegligence.

                                                                 IT{YITEE

            7. At tire time         of the incident described herein, Mr, Durbon was an invitee at the L'Auberge

                     Casino Resort, Lake Charles,'("L'Auberge Casino") located       at 771 Avel'Auberge,      Lake

                     Charles,   LA 70601.

                                                                  FACTS

            8.       The L'Auberge Casino is a huge casiao hotel in Lake Charies, Louisiana.        It is owned   by

                     GAMING PROPERTIES and operaredby PBNN.

            9.       On or about June 6,202A, an unidentified person spills liquid on the floor ofthe L'Aub€rge

                     Casino lobby, near the ent ance. ftereinafter refened to as the "hazardous condition").

            I   0. An unidentified person working for L'Auberge Casino sees the liquid on the floor, and leaves

                     it there unmarked, and unattended,

            I   i,   lvIr. Durbon walks ilr,rough the L'Auberge Casino iobby, and slips on the liquid.

            t2, lvlr. Durbon crashss into the floor and a cement column ncar the door, he hurts his back, hip,

                     both wrisis, both shoulders, knees, and body in genera1,

            13. PENN has video fbotage in its possession showing these alleged facts.

           14,       l{r.   Durboa's injuries and damages are a direct and proximate result of Defendants'

                     negligence.

                                                         DEF'EI{DANTS' DUTY

           15. Dcfendants owe I\,{r. Durbon, and other invitces of the L'Auberge Casino, duties of care under

                     at least four Louisiana laws.

           La" R..$" 9,1800,6

           16. The Defendants, as own6rs, manager$, maintainers, installers, repairers, and/or occupiers          of

                     the L'Auberge Casino, are merchants for the purposes of La. R.S. 9:2800.6.

           17. Defendants owe a duty to           Mr. Durbon and other persons who use their premises to exercise

                     reasonable care to keep aisles, passageways, and floors in a reasonably safe condition.

           18. Defendants'          duty includes a reasonable effort to keep tle premises ftee of any hazardous

                     conditions which rcasonably might give rise to darnage.

           19. They also have a duty to exeroise reasonable care to correi:t such condition after Defendants

                     knew, or by the exercise ofteasonable care shor:ld have known, ofthe dangerous condition.

           20. Defendants          hiled to exercise   such reasonable care.
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            La. Civ, Coile, Art, 660

            21. The Defendants, as ow[er$, marragers, maintainers, installers, repairers, and/or occupiers        of

                 the L'Auberge Casino, owe a duty to Mr. Durbon and othcr pcrsons who use their premises, to

                 keep their buildings in repair and to exercise reasonable c,are in nraintaining tbeir property

                 under La. Civ. Code Art. 660.

            22, Defendants knew, or in the exercise ofreasonable care, should have known             ofthe hazardous

                 condition which caused Mr. Durbon's damages.

           23. Mr. Durbon's damages could have been prevcnted by the exercise ofreasonable care.

           24. Defendants failed to exercise such reasonable care.

           La. Civ" Co&Art.2317 & ?$7,1

           25. The L'Auberge Casino was within the Defendants' custody for purposes of La. Civ. Code Art.

                 23 17 when the hazardous condition caused IVII.       Dubron's fall and injuries.

           26. Defendants have a duty to maintain the L'Auberge Casino in a reasonably safe condition            for

                 tbe use of its invitees.

           27. Defendants knew, or in the exercise ofreasonable care, shouid have known              ofthe hazardous

                 condition that caused Mr. Drubou's damages, and the damages could have bebn prevented             if
                 the Defendants had exeroised reasonable care.

           28, Defendants failed to exercise such reasonable care.

           Lr.   Civ. Code    tut;23l5
           29. The Defendants, a$ owners, rnanagersr maintainers, installors, repakers, and/or occupiers          of

                 the L'Auberge Casino, ow€ a duty to keep the propeffy in a reasonably safe condition, to

                 discover any unreasonably dangerous condition on the premises, and to corrcct that condition,

                 or wom potential victims of its existence.

           30. Defendants failed to exercige such reasonable caro,

                                                   EREACH/NEGI,IGENCE

           31,   Mr, Durbon's injuries and associated damages are a direct and proximate cause of one or more

                 of the following negligent acts or omissions by Defendants:

                 a.   Failing to provide proper and safe ingress and egress to and tom its property;

                 b.   Failing to wam inyitees, inciuding Mr. Durbon, of {he hazardous condition;

                 c.   Failing to maintain the premises in   a   reasonably safe condition;

                 d.   Permitting a hazardous condition to remainl




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                 e.    Failing to reasonably inspect the premises for defects, vices, and hazardous conditions,
                       and/or failing to take reasonable and appropriate actions as a result ofinspections;

                 f.    Failing to correct the hazardous condition;

                 g.    Creating and/or allowing a hazardous condition and,/or unreasonable risk of harm to eKist
                       which the Defendan*' knew, or in the exercise of reasonable and ordinary care, should
                 '     have known existed on its ptemises;

                 h.    Failing to remove or elimirate the hazardous condition existing on its premises;

                 l.    Failing to implement andlor enforce policies and procedures to wam, eliminate, or prevent
                       the incident described hercin;

                 j.    Any and all other acts ofnegligence, fault, or imprudence which may be proven durilg the
                       tial   of this matter.

                                                      PROXIMATE CAUSE (DAMAGES)

            32. As     a   direct   ancl   proximate result of the occurrences made the basis of this lawsuit, lrzlr. Durbon

                 was caused to suffer bodily injuries to his back, hip, both wrists, both shoulders, knees, and

                 body in general. Some ofthese i4iuries are to a reasonable probability, permanent in nahue.

                 ldr. Durbon         has beeu physically impaired an4 to a reasouable probability,         will   be physically

                 impaired for a long tirne, if not for the balance of his natural life.

                                                                      DAMAGES

           33. As a proximate result of the Deferldauts' negligence,              a,s   stated above, Ivft. Durbon suffers the

                 following injuries and damages:

                 .4.   Past aad funue physical pain and suffering;

                 b.    Past and future mental anguish;

                 c.    Past and fuhue loss of enjoyment of life;

                 d.    Past and future medical expenses;

                 e.    Past and futrue physical impairment;

                 f.    Pastandfuhuephysical disfigurement

                 g.    Past and future inconvecienco;

                 h.    Lost wages in the past; and,

                 i.    Loss of wage-eaming capacity in the futrue.

                       Each of the above acts and omissions, taken singulariy or in combination, constitutes

           negligence and.ior negiigence per se and was a proximate cause                     of Mr, Durbon's injuries     and

           damages.

                                                                  JURYDEMAND

           34.   Mr. Drubon demands              a   trial by jury.


                                                                         4
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                   WIEREFORE, Mr, Durbon prays Defendants be duly cited and served with a copy of this

            Petition nnd that, atler all iegal delays and due proceedings, this Court enter ajudgmenl reasonable

            to compensate I\4r. Durbon for all damages and interest causcd by Defendants' negligence.



                                                          Respectfi.rlly submitted,

                                                          STAG LIUZZA, L.L.C.



                                                          Michael O. Stag (Bu        314)
                                                          Astrley M, Liuzza (Bar No,34645)
                                                          Matthew D. Rogones (Bu No. 36652)
                                                          Edmond L. Guidry, IV (Bar No, 38761)
                                                          One Carral Place
                                                          365 Canal Place, Suite 2850
                                                          New Orleans, LA 70130
                                                          Telephone: (504) 593-9600
                                                          Facsirnile: (504) 593-9601
                                                          JERRY V, HERNANDEZ, OF COUNSEL
                                                          Texas State Bar No, 09516870 weking pro hac vice
                                                          admission
                                                          Jerrvll@davislgWcQq
                                                          JASON LIT{NSTAEDTER
                                                          Texas Slate Bar No, 24096521 seelclng pro hac vice
                                                          admlssion
                                                          Jasonl@davislaw,com
                                                          CARI,OS GARCIA
                                                          Texas State Bar No, 07631350 seeking pro hac yice
                                                          admission
                                                          CulosO@daYishw'cbnr
                                                          DAVIS LAW FIRM
                                                          i0500 Heriiage Blvd. #102
                                                          San Antonio, Texas ?8216
                                                          Telephone: (210) 293-l 000
                                                          Fax: (210) 870-1475

                                                          ATTORNEYS F'OR PLAINTIFX'


           PI,EASE SERYE:

                  PEI\iN NATIONAL GAMING INC.,
                  d/b/a L'AIJBERGE CASINO RESORT' LAKE CHARLES
                  through its registered agent
                  CT Corporation System
                  3867 Plaza Towcr Dr.
                  Baton Rouge, LA 70816

           PLEASE RJTTJRN A STAMPED PETITION AND CTTATION FOR SERVICE YIA
           LOIISIANA LONG ARM STATUTE TO TIIE BELOW DEFENDANTT
                  GAMING A}{D LTISURE PROPERTIES, INC.
                  via the Louisirna Long Arm Statute
                  tkough its rcgistered agent
                  Colporation Service Company
                  50 W tsroad St,, Suite 1330
                  Columbus, OH 43215-3301
                                                                                                   APR   -6   tsul



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